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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ZAVALA LICENSING LLC,                 §
                                      §
      Plaintiff,                      §                       Case No: 3:19-cv-00252-M
                                      §
vs.                                   §                       PATENT CASE
                                      §
KEYSIGHT TECHNOLOGIES, INC.,          §                       JURY TRIAL DEMANDED
                                      §
      Defendant.                      §
_____________________________________ §

                           NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff Zavala Licensing LLC hereby files this Voluntary Notice of Dismissal Without

Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). According to Rule

41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of court by filing a notice

of dismissal at any time before service by the adverse party of an answer. Accordingly, Zavala

Licensing LLC hereby voluntarily dismisses this action against Keysight Technologies, Inc.,

without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.

Dated: February 21, 2019                      Respectfully submitted,

                                              /s/ Jay Johnson
                                              Jay Johnson
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                                              ATTORNEY FOR PLAINTIFF

SO ORDERED, this ___________ day of ________________, 2019.

                                              ____________________________________
                                              Judge - United States District Court
